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1    McGREGOR W. SCOTT
     United States Attorney
2    R. STEVEN LAPHAM
     MATTHEW D. SEGAL
3    COURTNEY J. LINN
     Assistant U.S. Attorneys
4    501 I Street, Suite 10-100
     Sacramento, California 95814
5    Telephone: (916) 554-2708
6
7
8                IN THE UNITED STATES DISTRICT COURT FOR THE
9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )        No. 2:04-cr-00069-MCE
                                   )
12             Plaintiff,          )        FINAL ORDER OF FORFEITURE -
                                   )        LUXEMBOURG FUNDS
13        v.                       )
                                   )
14   LARRY J. WELLS, and           )
     JEFFREY WELLS,                )
15                                 )
                Defendants.        )
16   ______________________________)
17        The Court makes the following FINDINGS:
18        1.   On February 12, 2007, this Court entered a Preliminary
19   Order of Forfeiture against, among other assets, the following
20   asset:
21              All funds frozen in Luxembourg in or about August 2005
                pursuant to a Mutual Legal Assistance Treaty Request
22              sent on or about May 10, 2004 (hereinafter the
                “Luxembourg funds”).
23
24   The Court found that the Luxembourg funds constitute property
25   traceable to a violation of 18 U.S.C. § 1957, as charged in Count
26   Twenty-Two, to which defendant Larry J. Wells has pleaded guilty,
27   and are therefore subject to forfeiture pursuant to 18 U.S.C. §
28   982(a)(1) and Fed. R. Crim. P. 32.2(b)(1), and that the

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1    government has established the requisite nexus between such
2    property and the offense of conviction.
3         2.   Pursuant to 18 U.S.C. § 982, incorporating 21 U.S.C. §
4    853(n), third parties asserting a legal interest in the
5    Luxembourg funds are entitled to a judicial determination of the
6    validity of the legal claims or interests they assert.         Section
7    853(n)(1) specifies that following the entry of the order of
8    forfeiture, the United States shall publish notice of the order
9    and of its intent to dispose of the property in such manner as
10   the Attorney General may direct.       Section 853(n)(1) further
11   specifies that to the extent practicable the United States may
12   also provide direct written notice to any person known to have
13   alleged an interest in the property that is the subject of the
14   order of forfeiture as a substitute for published notice as to
15   those persons so notified.
16        3.   On February 23, March 2, and 9, 2007, the United States
17   published notice of the Court's Preliminary Order of Forfeiture
18   in The Daily Recorder (Sacramento County) and The Monterey Herald
19   (Monterey County), newspapers of general circulation located in
20   this judicial district and in the judicial district where
21   defendant Larry Wells resided.     Said published notice advised all
22   third parties of their right to petition the Court within thirty
23   (30) days of the publication date for a hearing to adjudicate the
24   validity of their alleged legal interest in the forfeited
25   property.   A copy of said notices were filed on March 15, 2007.
26   The United States also published notice of the Court’s
27   Preliminary Order of forfeiture on the internet site:
28   www.forfeiture.gov.   See Declaration of Publication filed

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1    concurrently herewith.
2         4.   Apart from the defendants (whose interest in the
3    Luxembourg funds was extinguished upon entry of the Preliminary
4    Order of Forfeiture) the only individual known to have alleged an
5    interest in the Luxembourg funds is an individual named Anacleto
6    Salciccia.     See Declaration of Henry M. Kaiser filed concurrently
7    herewith; Declaration of Larry J. Wells filed concurrently
8    herewith.    Accordingly, on or about October 18, 2007, the United
9    States caused notice of forfeiture to be transmitted directly to
10   Anacleto Salciccia at a known address for that individual in
11   Istanbul, Turkey.    The United States has demonstrated that
12   Anacleto Salciccia received actual notice of this Court’s
13   Preliminary Order of Forfeiture because the U.S. Attorney’s
14   Office for the Eastern District of California was contacted by an
15   attorney who represented that he had been contacted by Anacleto
16   Salciccia in connection with this forfeiture proceeding
17   concerning the Luxembourg funds.       See Declaration of Courtney J.
18   Linn at ¶ 3.    The attorney requested an extension of time in
19   which to prepare and file a petition on Anacleto Salciccia’s
20   behalf and the United States acceded to that request.         Id. &
21   Attachments B and C thereto.     When the time for filing a petition
22   had elapsed, the United States contacted the attorney who
23   requested additional time in which to determine whether Anacleto
24   Salciccia wished to file a petition.      Id. & Attachment D thereto.
25   That period of time has now also elapsed and Anacleto Salciccia
26   has not filed a petition with this Court, timely or untimely.
27        5.   Accordingly, the government has provided the requisite
28   notice of this Court’s preliminary order of forfeiture filed

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1    February 12, 2007, and of its intent to forfeit the Luxembourg
2    funds and no party has filed a timely petition as required by
3    Section 853(n).    In such circumstance, Fed. R. Crim. P.
4    32.2(c)(2) provides that if “no third party files a timely
5    petition, the preliminary order of forfeiture becomes the final
6    order of forfeiture if the court finds that the defendant (or any
7    combination of defendant convicted in the case) had an interest
8    in the property that is forfeitable under the applicable statute.
9    Here, defendants Henry Kaiser and Larry Wells had an interest in
10   the Luxembourg funds prior to the transfer of the funds into an
11   account under the name of “Lybra” at Banca di Roma in Luxembourg.
12   See Factual Basis in Plea Agreement of Henry Mead Kaiser filed
13   April 13, 2004; see also Kaiser Decl. at ¶ 16-18; see also
14   Factual Basis in Plea Agreement of Larry J. Wells filed June 19,
15   2006; see also Wells Decl. at ¶ 2.      Section 853(c) of title 21,
16   which is incorporated through 18 U.S.C. § 981(c), provides that
17   title to the Luxembourg funds vests in the United States upon the
18   commission of the act giving rise to forfeiture and that the
19   Court has the authority to order the forfeiture of the Luxembourg
20   funds, notwithstanding the fact that they were subsequently
21   transferred to a third party unless the transferee makes certain
22   showings, which showings the transferee has not made here.
23        Accordingly, it is hereby ORDERED, ADJUDGED and DECREED as
24   follows:
25        1.    A Final Order of Forfeiture is hereby entered forfeiting
26   to the United States of America all right, title, and interest in
27   the following property pursuant to 18 U.S.C. § 982(a)(1), to be
28   disposed of according to law, including all right, title, and

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1    interest of defendants Larry J. Wells and Jeffrey Wells:
2               a.   All funds frozen in Luxembourg in or about August
                     2005 pursuant to a Mutual Legal Assistance Treaty
3                    Request sent on or about May 10, 2004 (hereinafter
                     the “Luxembourg funds”).
4
5         2.   All right, title, and interest in the above-described
6    property shall vest solely in the United States America.
7         3.   The United States Marshals Service shall maintain
8    custody of and control over the Luxembourg funds, once they have
9    been repatriated, until they are disposed of according to law.
10
     Dated: March 26, 2008
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12                                    _____________________________
13                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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